Case 2:05-cr-00082-AWA-JEB Document 34 Filed 06/24/05 Page 1 of 6 PageID# 1



                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Norfolk Division


UNITED STATES OF AMERICA

v.                                                  NO. 2:05mj221

TERRANCE GERARD MATHIS,

           Defendant.


                                  ORDER

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f),

the Court held a hearing on June 23, 2005, on the United States

Government’s Motion to Detain the defendant.        The Court FINDS that

the following facts mandate the defendant’s detention pending his

trial.

     On June 23, 2005, a federal grand jury issued an indictment

charging the defendant with: one count of conspiracy to distribute

and to possess with intent to distribute cocaine, a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and

846; and one count of conspiracy to commit money laundering, in

violation of 18 U.S.C. § 1956(h).           A presumption in favor of

detention applies in this case because the first offense involves

violations of the Controlled Substances Act, 21 U.S.C. §§ 801-864,

with a maximum prison term of ten years or more.           See 18 U.S.C.

§ 3142(e).   The defendant is also subject to criminal forfeiture

pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 982.

     Both parties proceeded by proffer of evidence and offered
Case 2:05-cr-00082-AWA-JEB Document 34 Filed 06/24/05 Page 2 of 6 PageID# 2



argument.     The Court, having taken into consideration the proffers

of counsel, the pretrial services report, the criminal complaint of

May    23,    2005   and     affidavit       in    support,       and   the   statutory

presumption in favor of detention, FINDS by clear and convincing

evidence that the defendant is a danger to the community and by a

preponderance of the evidence that he represents a risk of flight.

The Court further FINDS that there is no condition or combination

of    conditions     that    will   reasonably         assure     the   safety    of   the

community and the defendant’s appearance for future proceedings.

       The Government’s evidence indicates that the defendant was an

organizer     and    leader    of   a    sophisticated            mutli-state    cocaine

trafficking conspiracy from May 2000 to May 2005.                       The Court notes

that the defendant did proffer evidence to rebut the statutory

presumption in favor of detention, but that presumption still

remains a factor to be considered by the Court in evaluating

whether the defendant should be detained. United States v. Jessup,

757 F.2d 378, 381 (1st Cir. 1985).

       The Court considered the nature and seriousness of the charges

faced    by   the    defendant.         If   convicted       on    evidence     beyond   a

reasonable doubt at trial, the defendant faces up to life in prison

and up to a four million dollar fine on the more serious drug

conspiracy charge.          The defendant also faces up to twenty years in

prison on the money laundering conspiracy charge.

       With   regard    to    the   weight        of   the   evidence      against     the


                                             2
Case 2:05-cr-00082-AWA-JEB Document 34 Filed 06/24/05 Page 3 of 6 PageID# 3



defendant, the Government has proffered detailed evidence of the

defendant’s involvement and leadership of the conspiracy. At least

six individuals have testified or are prepared to testify about the

defendant’s role in the conspiracy.

     The   Court    next   considered     the   personal    history    and

characteristics of the defendant.       The defendant was apparently a

long-time resident of the Hampton Roads area prior to his reported

move to Houston, Texas.      The defendant continues to have ties to

this community, although he reported that he has an infant child

residing in Houston, Texas with the infant’s mother.            The Court

notes that the defendant’s grandparents, who have offered to serve

as third-party custodians, were present in the courtroom for the

hearing.   The defendant does not have a significant employment

history.   Although he reported self-employment installing drywall

for the past five years, Virginia Employment Commission records

indicate that the defendant has no reportable income from the

fourth quarter of 1999 to the fourth quarter of 2004.                  The

defendant reported earning approximately $1,400 monthly from his

self-employment and paying approximately $300 in monthly child

support and $200 in monthly living expenses to his grandmother.

     The defendant’s criminal record includes felony possession of

cocaine and misdemeanor possession of marijuana.         In addition, the

defendant has a failure to appear warrant outstanding for a 2003

possession of marijuana charge in Clayton, Georgia, his probation


                                    3
Case 2:05-cr-00082-AWA-JEB Document 34 Filed 06/24/05 Page 4 of 6 PageID# 4



for his felony conviction was revoked once in 2002, and a June 11,

2004 capias warrant remains outstanding for a probation revocation

hearing.    In addition, the defendant was on bond for a charge of

failure to obey a police officer in Mobile, Alabama when he was

arrested.

     The Court considers the defendant to pose a danger to the

community due to his apparent involvement in the distribution of

drugs.   The Court notes that the cost of having to defend against

the charges facing him provides the defendant with an incentive to

continue dealing drugs if released. See United States v. Williams,

753 F.2d 329, 335 (4th Cir. 1985) (noting that, due to the nature

of the charges, the potential for pretrial recidivism exists in

accused drug dealers).

     The Court also considers the defendant to be a risk of flight

despite his significant ties to the community.        Without suggesting

a finding as to guilt or innocence, the Court notes that the

Government has proffered detailed evidence of the crimes alleged.

If convicted at trial upon evidence beyond a reasonable doubt, the

defendant faces up to life in prison and a substantial fine on the

more substantial drug conspiracy charge.         When combined with the

weight of the evidence, the penalties faced by the defendant

provide him with an incentive to flee if released.              The Court

notes the defendant’s ties to Houston, Texas, his travel, and his

outstanding failure to appear and capias warrants.           Accordingly,


                                    4
Case 2:05-cr-00082-AWA-JEB Document 34 Filed 06/24/05 Page 5 of 6 PageID# 5



the Court concludes that the defendant poses a risk of flight.

      In view of the facts as set forth above, the Court FINDS by

clear and convincing evidence that the defendant represents a

danger to the community and by a preponderance of the evidence that

he represents a risk of flight.                 The Court further FINDS that no

condition or combination of conditions will reasonably assure the

safety of the community or the appearance of the defendant.                     The

Court notes the good intentions of the defendant’s grandparents,

who   have    offered    to   serve    as   third-party      custodians   for   the

defendant pending trial.            However, given the substantial penalties

the defendant faces, the Court doubts that even the most severe

terms and conditions could secure his future appearance. The Court

also doubts that the community could be adequately protected given

the extent of the defendant’s apparent involvement in the drug

trade.

      The Court, therefore, ORDERS the defendant DETAINED pending

his trial.       See 18 U.S.C. § 3142(e) and (f); United States v.

Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991); United States v.

Araneda, 899 F.2d 368, 370 (5th Cir. 1990); United States v.

Jackson, 823 F.2d 4, 5 (2d Cir. 1987); United States v. Medina, 775

F.2d 1398, 1402 (11th Cir. 1985).

      Consequently, the Court further ORDERS the defendant committed

to    the    custody    of    the    Attorney      General   or   his   designated

representative for confinement in a corrections facility separate,


                                            5
Case 2:05-cr-00082-AWA-JEB Document 34 Filed 06/24/05 Page 6 of 6 PageID# 6



to   the   extent   practicable,   from   persons   awaiting   or   serving

sentences or being held in custody pending appeal.          The defendant

shall be afforded a reasonable opportunity for private consultation

with defense counsel.     On order of a court of the United States or

on request of an attorney for the Government, the person in charge

of the corrections facility shall deliver the defendant to the

United States Marshal for an appearance in connection with a court

proceeding.

      The Clerk shall mail or deliver a copy of this order to (i)

the United States Attorney at Norfolk, (ii) the United States

Marshal at Norfolk, (iii) the United States Pretrial Services

Office at Norfolk, and (iv) counsel of record for the defendant.

ENTERED this 24th day of June, 2005.




                                                       /s/
                                          F. Bradford Stillman
                                          United States Magistrate Judge




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